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uNITED sTATEs ms'rRlCT CouRT
FoR THE MIDDLE DISTRICT or FLOR!Z%
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cL£RK,US ii 3 l"£’
wELLEsTEY 1). MADuRIE, JR. and §I§Qu_i_ ' Usg,.!. ._[;recu;)'F cor/m
CHRISTINE MADURIE, husband and wife, ` " K "'"-" ’." ;.~_ ,.~, ,~,3.,'?][}l

.‘
Plaintiff$, 52 la ,C V q l28‘3'37387

V.

HEARTLAND EXPRESS, INC. OF lOWA,
a foreign corporation authorized to do
business in the Statc of Florida

Defendant.
/

 

DEFENDANT’S NOTICE OF REMOVAL

To the Honorable Judges of the United States District Court for the Middle

District of Florida, Jacksonville Division, Det`endant, HEARTLAND EXPRESS, INC.

OF lOWA (“Heartland”), by and through its undersigned counsel, and pursuant to 28

U.S.C. §§1441 (a) and 1446, respectfully petitions for the removal of this action to the

United States District Court for the Middle District of Florida, and as grounds in support
would state as follows:

l. On or about April 26, 2011, the above-captioned lawsuit was filed in the Circuit

Court for the Seventh Judicial Circuit, in and for St. Johns County, Florida, and is

now pending in said court under case number CAl 1-0661, Division 55.

Thereaiier, Defendant, Heartland, was served with the Complaint on May 2, 2011.

A true and correct copy of the Complaint is attached hereto as Exhibit ‘*.”A A

true and correct copy of the state court file is attached hereto as Composite

Exhibit “B."

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2. This action involves a motor vehicle accident which occurred on June 23, 2008, in
St. Johns County, Florida.

3. At all times material hereto, at the time of the filing of the Complaint, and at the
time of filing this Notice of Removal, Det`endant, Heartland, was and is a foreign
corporation organized pursuant to the laws of the state of lowa and maintaining its
principal place of business in Iowa.

4. By allegation, Plaintiffs’ Complaint makes clear that Plaintiffs, Wellestey and
Christine Madurie, were and are residents and citizens of Clewiston, Florida.
Complaint, 1| 2. Upon information and belief, at all times material the Plaintit`fs
were and are residents and citizens of Hendry County, Florida.

5. 'Ihis action is one in which the United States District Courts are given original
jurisdiction by reason of diversity citizenship of the parties, pursuant to 28 U.S.C.
§1332.

6. The Complaint merely set forth the jurisdictional allegation that claimed
“damages exceeding 315,000.00.” Complaint, 11 l. Therefore, on its face, the
allegations of the Complaint did not provide Heartland with knowledge that the
amount in controversy in this case exceeded $75,000.00.

7. On January 6, 2012, Heartland first became aware that the amount in controversy
in this matter exceeds $75,000.00. During the deposition of the Plaintiff,

Wellestey Madurie, on that date, the Plaintit`f` was asked pointblank whether he

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was Seeking damages in excess oi" S')’S,UUU.U() in this lawsuit. Tlte Plaintift`
responded, "yes."i Theret`ore, this ease is properly removable at this point.

8. Pursuant to 28 U.S.C. §144(), this Notice ot` Removal is being filed within one
year ot` commencement of the action, and within thirty days ot` receipt by
Defendant ot`“other paper t`rom which it may tirst be ascertained that the case is
one which is_. or has become_. retnovahle." .

9. A copy of` this Notice ot` Removal is being filed by Dct`cndants with the Clcrk of
the Circuit Court in which this action is pending
WHEREFOREt Det`endant. HEARTLAND EXPRESS. INC. OF lOWA. hereby

gives notice that the referenced action should be retrieved l`rom the Circuit Court ot` the
Fourth Judicial Circuit in and i`or Duval County, Florida to the United States District
Court for the Middle District ot` Florida. Jacksonville Division, pursuant to the authority
ot`28 U.S.C. §1441 and pursuant to the procedures provided in 28 U.S.C. §1446.

- lt
RESPECTFULLY SUBM!TTED this (Ph' day ol" /z€/dr l/*"rz , 2012.

 

l The t`ull transcript of Wellestey Maduric`s deposition was previously filed with the state court below. and
is included within composite Exhibit "B" attached hereto. l"or the Court`s convenience pertinent excerpts
from Mr. Maduric`s deposition are attached hereto as Exhil)it "."C

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FERNANDEZ TRIAI.. I_.A\VYERS. P.A.

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(904) 398-0332 Facsilnile

Attorneys for Det`endant

Heartland Express, lnc. ot` iowa

 

CERTIF[CA'I`E OF SERVICE
l HEREBY CERTIFY that a true and correct copy ot" the foregoing has been
t`urnished to Robert L. McLeod, Il, Esquire and Seth B. Dempscy, Esquire. 1200

Plantation lsland Drive South. Suite 140. St. Augustinc. Florida 32080. by facsimile and

r.*l
U.S.Mail,this 0 dayof Fc‘férv.,~tf;_' __2012.

FERNANDEZ TRIAL LAWYERS. P.A.

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/ANDEZ. III ESQUIRE
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Attomeys t`or Heartland Express, lnc. of lowa

